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Mapother v. Dep’t of Just., 3 F.3d 1533, 1539 (D.C. Cir. 1993), or “the give-and-take of the

consultative process,” Wolfe v. Dep’t of Health & Hum. Servs., 839 F.2d 768, 774 (D.C. Cir.

1988) (citation omitted). See N.Y. Pub. Int. Rsch. Grp. v. U.S. E.P.A., 249 F. Supp. 2d 327, 338

(S.D.N.Y. 2003) (protecting notes of EPA official who “emphasized points of major concern

with marks such as asterisks and underlining, and included his personal observations and

commentary”). The burden of proof is on the party objecting to the discovery request. Fin. Guar.

Ins. Co. v. Putnam Advisory Co., LLC, 314 F.R.D. 85, 87 (S.D.N.Y. 2016).

       The notes at issue were taken by Estabrook during a 2018 meeting between

Commissioner Roisman and Garlinghouse not related to the SEC’s investigation of Ripple. In a

sworn declaration, Estabrook explains that the notes “reflect the matters discussed at the meeting

that [he] believed were important and that could relate to future Commission decisions,” and do

not reflect everything said at the meeting. ECF No. 434 Ex. A (Estabrook Decl.) ¶ 3. He took the

notes “believ[ing] the Commission could propose a rule regarding the regulation of digital asset

offerings, and [he] was seeking information that would allow [him] to provide advice to

Commissioner Roisman on such a proposal.” Id. ¶ 4.

       The Court previously held that two sets of notes made by SEC officials during meetings

with Ripple representatives and a Ripple shareholder were protected by the privilege. ECF No.

413 at 8. The need for the documents was significantly reduced because Ripple or its shareholder

was present, see Citizens Union of City of New York v. Att’y Gen. of N.Y., 269 F. Supp. 3d 124,

155, 166 (S.D.N.Y. 2017) (whether the deliberative process privilege should yield to the need for

discovery depends in part on the availability of other evidence), and the notes could reveal the

SEC’s internal thought processes during the meetings.




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       Garlinghouse attempts to distinguish Estabrook’s notes from those other sets of notes

because those notes were for meetings involving Ripple’s counsel and were arguably related to

the SEC’s investigation of Ripple. Because neither Estabrook nor Commissioner Roisman were

involved in the SEC’s investigation of Ripple, he argues, there is no danger of Estabrook’s notes

revealing the SEC’s thought processes about the investigation. He emphasizes that Estabrook’s

notes may corroborate his account of the discussion with Commissioner Roisman, and that there

is no other available evidence to substantiate his recollection.

       The Court disagrees. Estabrook’s notes are no different from the notes the Court

previously found to be protected by the privilege. Garlinghouse’s need for the notes is

significantly reduced in light of his presence at the meeting, just as Defendants’ need for the

notes previously considered was significantly reduced by Ripple’s and its shareholder’s presence

at those meetings. The SEC’s fact-gathering from third parties is not an inherently privileged

activity, but having reviewed Estabrook’s notes, I find that they could reveal to Garlinghouse the

SEC’s internal thought processes during his meeting with Commissioner Roisman. The privilege

applies.

       The privilege is qualified, but as discussed at length in the January 13, 2022 Order, the

notes’ relevance, availability of other evidence, seriousness of the litigation, and role of the

government in the litigation do not outweigh the possibility of future timidity by government

employees. See ECF No. 413 at 18-22; Citizens Union, 269 F. Supp. 3d at 159; Rodriguez v.

Pataki, 280 F. Supp. 2d 89, 101 (S.D.N.Y. 2003). Just like the notes the Court previously found

protected by the privilege—which were also taken during meetings between “[s]itting members

of the Commission and their staffs . . . [and] third parties,” ECF No. 424 at 3—the factors do not

support overcoming the privilege.



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                                       CONCLUSION

       Garlinghouse’s motion is DENIED. The Clerk of Court is respectfully directed to

terminate the motion at ECF No. 424.

SO ORDERED.




Dated: April 19, 2022
       New York, New York




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